Case 1:14-cv-05960-NG-RLM Document 54-5 Filed 10/24/17 Page 1 of 1 PagelD #: 726

St. Atty Marvioet Resort
ee ator Resort

Voluntary Statement:

™ Nol obligated to pive a Statement and that] might seck legal
before any statement or dectaration is given.

Full ame: | Please Punt Nami) D.O.B (umuayyn
Mrs. itr. Ms, ee ee Rend TMA A, sax _6f LP 1 Se
Address;

Wititat the understanding that I’ advice at any time

‘Phone Nembaar

— A 19712 |
nw iy eoq sore = ace sey 6 =

Work Address:

pemuecreemen ene SYS TL ds2 a] Jeb "WE slecahs pall mY

a
y. describe ( the incident. Please include alli all information,
Please include s

= E-qpk

Ceecd

———_, ———-._____
| Thave reviewed this is statement and amar (Lis s tue and id accu ate to the besiaijm recollection =

Witness: Th Gm :
Signature: Key Lac _ — | Ler: Prevention > Moh : Collet (o€
——_____. _ = vs Tt cade:
Assaciate: | “Guest: witness: Other: [is (aie reuseony 7/3 -o97

If this statement continues please specify the total at the end. Copy 1 of if

Mi - 00085

Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19 Page 2 of 21 PagelD #: 936

Case 1:14-cv-05960-NG-RLM Document 54-6 Filed 10/24/17 Page 1 of 1 PagelD #: 727

oiy on
Sta sane ‘oa
aaron, St. Kitts Marriott International Saarnon
INCIDENT REPORT
Type of incident Date ofIncident | Date of Report’ ~*~ | Guest Th.
Slip and Fall ~ 18/07/2013 18/07/2013 Assoclate() 700
Exact Location of Incident Time oftncident Time of Report Incident'Code=: ° *.*f
On Floor Next to restroom sink, 00:15 00:20 13-0097
Name Address ni
Mrs. Veronica Seana 463 East 56 St, Brooklyn, New York, U.S.A.
Date of Birth | Sex Work Telephone | Wome Telephone # . | Ezmall Address Lee sR
April 9" 1956 | F 1-718-629-1213 1-917-584-9432 Buffie3@verizon.net

NARRATIVE: a Give detalls a canclsé terns [tasetecclirc where, yy; eh whenk ly. Idenilfy ai puept teevgs i of wines bleh
Addresses,’ itahen; stole whot vias tk ‘valu; dibrigudh id, “itpansible, how could have Neppened : sat

On mn Wednesday 18" July 2013 at about 00:20 hrs, I was informed of a slip and fall in room 455. I Tet
to investigate.

I arrived at room 455 and was met at the door by Ms. Judith Gomez. She allowed me in and
introduced Mrs. Victoria Brown-Mulvaney. Ms. Brown-Mulvaney stated, she was making her way
to the restroom when she slipped and fell as result of the water that dripped from the AC vent in the
ceiling onto the tiled floor. She landed on the outer side of her left leg. There was pain in the
covering from her hip down to her leg. She did not see the need for further care but would monitor

throughout her stay and inform us if anything developed.

] arrived at the room and met Mrs.-Brown-Mulvaney quietly lying in bed. She declined being taken
to the hospital or having an ice pack applied to the area. Specific mention was made as to having the
incident reported. When asked about providing a statement she scheduled for a later time. I received
her voluntary statement in the Lobby at 07:15 hrs. At that point she stated that her left ankle was
swollen as a result. She walked through the Lobby Entrancc/Exit unassisted, after handing me her

statement,

Tyrone O’ Loughlin (EOD) arrived in the room before me. He confirmed that there was water on the
floor. This was result of the AC drainage pan having a leak which caused water to drip from the vent
in the ceiling on to the floor. The repair process was under way by the Engineering Team.

Please See Accompanying Data

a)Voluntary Statement of Mrs. Brown - Mulvaney
b)Room Folio

Mi - 00084
Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19 Page 3 of 21 PagelD #: 937

ST. KITTS MARRIOTT RESORT

AMENDED AND RESTATED

LICEN ND ROYALTY AGREEME

between

MARRIOTT WORLDWIDE CORPORATION

and

ROYAL ST. KITTS BEACH RESORT LIMITED

224093v] May 17, 2006 Final — Substitution Page

Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19 Page 4 of 21 PagelD #: 938

TABLE OF CONTENTS
Page
Te epee emn epee oercceeeareucan ey me eneennnes cexrmn ons eTNa chang IS FANE Goh did tAdeen ep aerenenounecoesnpsaresrcarcecooes 2
LOL DCPS iesccscsusszsnaese vs sanenenssvenesanneanrennusnvascasenusnzans mn sanes vines ncaa ONE URLCAEATEANNUNEVETA aakadedancasmenee 2
1.02 Interpretation .......cscccsccsssssssssseeessvsseneccssssviesevsveeeessessesesevenesseensepaesevasentscaessseseesasersscscacecs 3
PRTC sae gentath nine tai nda eter notaniceapmnonnebepiben sb cisingnennshonsiintheberenessmanpeysecueteremeyeuarsvercampserscemccuniiss 3
Zod, (GRRE OE LICE TBS sascacecsransanrusenssnconnvsxmavssenexanavnserinesnaxseeesaviess UGA cbaroieusnnsuennshansecenensvorseeeuses 3
ARTICLE U1... eee ceseceeseeectnsseseesesessceesecsseessecnsesseessssesecaeessesssessseaseaeessseessecssesstesssessesasesssseviss 4
3.01 Quality Standards 0... cc cccseeesseeecscneceesesersessesesseesecaesesscssseeeesssesssesacsesavscsesseeecarscsueeenee “
PY rpscaeererepreeeaccanssaneesapeeenensesa geese saereeaseetseavecnp samy sev says cr ease eessecacesuaistesecdeeys ee eons 5
A.O1 Payments ve ceccceccsecsecssseececseeseseesesecseecsesesavscnsescsessaesssssaaseavacsavsesecassevasaseavucsevastennnenes 5
ARTICLE Vou ecccccccecceeeseeceesessnsceeecssecnsessusesnecsseceeceseseneesasesseeaseesessssaessteeesaeccsssescecsusesseessesssessvites 5
5.01 Ownership OF Marriott TAA eUIAI NG scscnisseccssaciscsssssissesnasnanansnzarexssasannndstinsdsecsesernnaresereese 5
ARTICLE VI. eseccccccsesscesesesceesseeesesgusensnecsesesssnessssssevecsecsesssntssecesecsastssessesssssessssusssssssasasessssseseass 7
GOL Termeecccccececcsesesecseeseseseseseeseevevscsesecseseesesessaesssscevscsvacacssasscaeeessvasaesasecesavsesesesavavaeseseses 7
PRCT VE ss srseoen sn os geveonerova eas pega ues en cmon nt hg saab deren anee esr geengeee renee verse meree acer 7
ek, ES DS sprees eee smerepeme mesons aoe ea penscerec enreneemnreermarecenvenaxestactieds 7
T.O2Q "Termination... cececcccecseseccceeessesseeseeseeesssecsecseeeesseesesseeeeeseseeseaesaeeseceusesscaussascaesescateavanes 8
FOS  ROAORCE sis ccsscessnsansnancxncasenssawanssnsacssecmnenneava seasesisewAENat wakes lnimndaranntinnbencennennessnsceeeowsevorseys 9
ARTICLE VU oni. sccccceccsescsceessceeaeeessscssceeseeesessessesssscacsesesevsesessaeaeesensssnsncesstessssescesssssecsssessesesisusecees 9
8.01  ASSILTMENE ..... ec ceeeeecceseesesseeeesceaeesecseseeaeseesesseeseesecssessesscsecsessecsecacsateaeseteusesseaseeeass 9
ARTICLE UX sssccssccesstsssessvevseevavsuye eases sxsvnsaossisesessctasteseveassessevencessvsvssensstussa¥icbed-sbcgsseesvetesedesecceseacesoees 10
ee TREN ES 1 Ges eres rae eenee eres reser rzne renee cereonuarersereesucexeroonameneEes 10
9.02 Consents, Approvals, and Agreements; No Warranties... ccccsssesesseseeeeseeereeasseseaes 10
BOS REV AROR SID sonssssccsansnsaenrsavesascexscnsanannranssotennvasecenean ie exsnavawas tx erasunSKISGANNASSENGGESG Reteananerceseens 11
9.04 Confidentiality ..........cccccecccccceeeeesseseeseseseseecsesesecsesesacscseecsacsesesacssssssesssseseeusitcacsevavavacseees 11
9.05 Applicable Law .......ccccccesescsesesessesseseseseevesssesesssvevesscsessescscsescscseseesacssseeestseecenseeensonenes 12
O.0G  dNTIAU GY Oi sesecaresccnecessnzenznconenusensasceuceousencaannuoumcannscoassonuseneR@uaeeeanZANeANATNRLNAT0NARben-rnnnnenenees 12
9.07 — NOtices .o.ecceceeccceecseeseesceseeeesseeesceseeaecsacsseseeseeseesecsecseesscsestecsecssssecsssassesecseessseaeeasesesateasares 12
9.08 CUITeNcy.... eee cceeeeeseneesceeensetneteeeeeees caseuseseeseuseaeuavscesssasesessesasussaeeaecsssacseesceaeeacsevarsavaes 14
D9 WAV Gf iar sus ar eceneemnasumosesnmmnmamerencrenevmanamnennantnaiascnnasasines maxes ttaneciasecatee eee 14
9.10 Partial Invalidity... ccc ccesesecsesesessescseeeescsesscsesesenevseseacseeseeesaeeaesesacsesevsesseansrataeass 14
G1), Tntine: A preententth.ccis nnsssaseisas cninsagce cadacnsansksanieaneasveenstiiscetscndebateavonnnnnaansennernennevensensneneson 15

217071 v1 Final
Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19 Page 5 of 21 PagelD #: 939

ST. KITTS MARRIOTT RESORT

AMENDED AND RESTATED
LICENSE AND ROYALTY AGREEMENT

This Amended and Restated License and Royalty Agreement is executed to be effective
as of the day of May, 2006 ("Effective Date"), between:

Royal St. Kitts Beach Resort Limited ("Owner"), a company organized and existing
under the laws of the Federation of St. Christopher & Nevis,

and

Marriott Worldwide Corporation ("MWC"), a corporation organized and existing under
the laws of the State of Maryland, United States of America.

RECITALS:

A, Owner and MWC entered into that certain License and Royalty Agreement dated
as of January 30, 2001 and amended as of February 25, 2003 (collectively the “License and
Royalty Agreement”). Owner and MWC desire to amend and restate the License and Royalty
Agreement to make certain modifications thereto in order to conform to certain amendments
being made to the Management Agreement.

B, MWC and its Affiliates have developed and perfected a system for providing high
quality distinctive hotel services, which system includes the right to use the Marriott
Trademarks.

Cc. MWC desires to grant, and Owner desires to obtain, a nonexclusive and
nontransferable license to use the Marriott Trademarks for hotel services in the geographic area
on. the island of St. Kitts, exclusively in connection with the Hotel under the terms and conditions
set forth herein.

D. Upon such grant, the Hotel, together with other Marriott Chain hotels now or
hereinafter operated or licensed by MWC and its Affiliates, will be operated as part of an
international system of Marriott Chain hotels providing distinctive and high quality hotel
facilities and related services.

NOW, THEREFORE, in consideration of the mutual covenants contained herein and

other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the parties hereto agree as follows:

224093v1 May 17, 2006 Final — Substitution Page
Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19 Page 6 of 21 PagelD #: 940

ARTICLE I
DEFINITIONS: INTERPRETATION

1.01 Definitions

The following terms when used in this Agreement have the meanings set forth below:

Agreement” means this agreement (including the exhibits, schedules and addenda
hereto), as amended, restated or supplemented from time to time.

"Effective Date" means the date of this Agreement as set forth in the introductory
paragraph of this Agreement.

"Event of Default" has the meaning stated in Section 7.01.

"Initial Term" has the meaning stated in Section 6.01.

“Management Agreement” means the Amended and Restated Management
Agreement executed as of the Effective Date by Owner and Manager, as amended, restated or
supplemented from time to time.

“Manager” means Marriott St. Kitts Management Company, Inc., its legal successors
and permitted assigns.

"Marriott Trademarks” means (i) the name and mark "Marriott"; (ii) the “M” logo,
attached hereto as Exhibit A; and (iii) all other trademarks, service marks, trade names, symbols,
logos, slogans and designs (including restaurant names, lounge names, or other outlet names) used or
registered by MWC or any of its Affiliates; whether registered or unregistered and whether used
alone or in connection with any other words, trademarks, service marks, trade names, symbols,
logos, slogans, and designs. All right, title, and interest (including copyright and patent rights) to the
name “Royal” and any other name developed exclusively by Owner and used in connection with the
Hotel, shal] at all times be proprietary to Owner and shall in all events be the exclusive property of
Owner.

"MWC" has the meaning stated in the introductory paragraph to this Agreement and
includes its legal successors and permitted assigns.

"Owner" has the meaning stated in the introductory paragraph to this Agreement and
includes its legal successors and permitted assigns.

"Renewal Term" has the meaning stated in Section 6.01.

“Term" means the Initial Term plus all Renewal Terms.

217071v1 Final
Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19 Page 7 of 21 PagelD #: 941

1.02 Interpretation

A. Unless otherwise stated, references to the Recitals, Articles, Sections, Exhibits,
Schedules and Addenda are to the Recitals, Articles, Sections, Exhibits, Schedules and Addenda of
or to this Agreement, and all such Exhibits, Schedules and Addenda are hereby incorporated herein
by reference.

B. Words indicating the singular include the plural and vice versa as the context may
require. Words indicating a gender include every gender as the context may require.

C. Unless otherwise defined, references to days, months, and years are to calendar days,
calendar months, and calendar years, respectively.

D. The headings to the Articles and Sections are for convenience only and have no legal
effect.

E. The words "include," "included" and "including" shall be terms of enlargement or
example and shall not imply any restriction or limitation unless the context clearly requires
otherwise.

F, The word "or" shall not indicate exclusivity and shall be interpreted to mean both

"and" and "or" unless the context clearly requires otherwise.
y req

G. "Dollars," "$," and "U.S.$" mean the lawful currency of the United States of America.

H. When used with reference to this Agreement, the word "termination" shall mean the
expiration of the Term or prior termination of this Agreement, unless the context clearly requires
otherwise.

I. Every word or term in this Agreement which is capitalized for the purpose of

indicating a particular meaning and not specifically defined herein has the meaning set forth in the
Management Agreement.

ARTICLE TI
LICENSE
2.01 Grant of License
A. MWC hereby grants to Owner a non-exclusive (subject to subsection D below) and

non-transferable right and license to use the Marriott Trademarks for hotel services offered only in
connection with the Hotel, subject to the terms and conditions of this Agreement and the
Management Agreement. The performance by MWC of its obligations under this Agreement is
contingent upon the continued performance by Owner of all of its obligations hereunder.

217071¥1 Final
Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19 Page 8 of 21 PagelD #: 942

B, All use of the Marriott Trademarks by Owner under this Agreement inures to the
benefit of MWC and its Affiliates whether or not the Marriott Trademarks are registered, and
regardless of the source of the Marriott Trademarks. MWC represents and warrants that as of the
Effective Date and all times during the term of this Agreement, the Marriott Trademarks are and
shall be registered with respect to hotel services for use in St. Kitts.

C. Nothing in this Agreement should be construed to grant to Owner any right to use or
license others to use the Marriott Trademarks or any names, marks, logos, commercial symbols, or
indicia of origin owned by MWC or its Affiliates except as explicitly set forth herein.

D. Except as set forth in the Management Agreement in Section 15.19, MWC reserves
the right to use and grant to others the right to use all or part of the Marriott Trademarks, as may be
applicable, in connection with other hotels or other types of goods and services offered by MWC, its
Affiliates or others, provided that Owner shall have the exclusive right and license to use the
Marriott Trademarks within the geographic area defined in Section 15.19 of the Management
Agreement (the "Area"), and provided further that Owner's use shall be limited to the (i) Hotel and
(ii)the Term of the Management Agreement.

E. Nothing contained in this Agreement shall be construed as an assignment or grant to
the Owner of any right, title, or interest in or to the Marriott Trademarks, it being understood that al]
rights relating thereto (except for the license to use the Marriott Trademarks as set forth herein) are
reserved by MWC and its Affiliates.

F, Owner acknowledges that the worldwide goodwill associated with the Marriott
Trademarks (including on the island of St. Kitts) is of great value and that the Marriott Trademarks
and all rights therein and goodwill pertaining thereto belong exclusively to MWC and its Affiliates.

ARTICLE I
STANDARDS

3.01 Quality Standards

A. Owner shall strictly comply with all quality standards applicable to the Hotel pursuant
to the Management Agreement, including those governing the use of the Marriott Trademarks and
the nature and quality of all goods or services advertised or sold under the Marriott Trademarks. The
Owner recognizes and agrees that such quality standards are necessary to protect and enhance the
value of the Marriott Trademarks and the goodwill associated with the Marriott Trademarks. MWC
shall further be entitled to demand the immediate cessation of any use of the Marriott Trademarks
that does not comply with the terms and conditions of this Agreement.

B. Owner shall not use any Marriott Trademarks other than in strict accordance with this
Agreement and the Management Agreement.

217071v1 Final
Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19 Page 9 of 21 PagelD #: 943

ARTICLE IV
PAYMENTS

ARTICLE V
OWNERSHIP

5.01 Ownership of Marriott Trademarks

A. Owner acknowledges that MWC and its Affiliates are the sole and exclusive owners
of all rights, title and interest of every kind and nalure, whether by statute or common law, in law or
equity, which exist, attach, inhere, or subsist in the Marriott Trademarks and all goodwil] associated
with the Marriott 'frademarks. Owner agrees to use the Marriott Trademarks exclusively in
connection with the Hotel in St. Kitts under the terms and conditions set forth herein, provided that,
subject to MWC's prior written approval (which shall not be unreasonably withheld or delayed and
shall be based upon Marriott’s judgment that the proposed use of the Marriott Trademarks does not
imply management or participation in such non-Hotel components of the resort), Owner may use the
Marriott Trademarks as a locational identification in connection with the casino, residential villas,
and other non-hotel components of the resort of which the Hotel is a part. Nothing in this Agreement
or in Owner's use of the Marriott Trademarks shall give Owner any ownership right whatsoever in
the Marriott Trademarks or in any mark similar to the Marriott Trademarks.

B. Owner agrees that it will not during the term of this Agreement or thereafter (i) attack
the title or any rights of MWC or its Affiliates in and to the Marriott Trademarks, contest the validity
of the Marriott Trademarks or take any action that could impair, jeopardize, violate, or infringe the
Marriott Trademarks; (ii) claim adversely to MWC, its Affiliates or anyone claiming through MWC
any right, title, or interest in and to the Marriott Trademarks; (iii) misuse or harm or bring into
dispute the Marriott Trademarks; (iv) register or apply for registration in any country of the world for

217071v1 Final
Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19 Page 10 of 21 PagelD #: 944

Owner's benefit (directly or indirectly) the Marriott Trademarks or any other mark which is, in
MWC's reasonable opinion, the same as or confusingly similar to the Marriott Trademarks.

C. Owner further agrees to cooperate fully and in good faith with MWC for the purpose
of securing and preserving MWC's and its Affiliates' rights in and to the Marriott Trademarks in St.
Kitts and elsewhere and to provide such consents and other assistance as MWC may reasonably
request to perfect and protect MWC's and its Affiliates' ownership of the Marriott Trademarks,
MWC shall reimburse Owner for any out-of-pocket expenses reasonably incurred in connection with
such assistance.

D. Except as otherwise expressly provided herein, Owner shall have no right to assign,
transfer, sublicense or divide any rights to which it may be entitled under this Agreement.

E. If Owner becomes aware of (i) any objection by any Person to use of the Marriott
Trademarks in connection with the Hotel, or (ii) any claim that the grant of the license by MWC to
Owner under this Agreement or the use of the Marriott Trademarks in relation to the business or
operation of the Hotel pursuant to the terms of this Agreement constitutes a breach or infringement
of the rights of any Person, then Owner shall promptly notify MWC of such objection or claim.
Owner shall not (i) commence any legal action, file any defense, or seek any remedy with respect to
any such objection or claim, or (ii) settle or otherwise compromise any such objection or claim
without the prior consent of MWC, MWC shall defend and Owner shall cooperate fully with MWC
in the disposition of any litigation or other action related to any such objection or claim, and MWC
shall reimburse Owner for any out-of-pocket expenses reasonably incurred in connection with such
assistance.

F, If Owner becomes aware of any use or attempted use by any Person (other than
Owner) of the Marriott Trademarks or any variations similar thereto, Owner shall promptly notify
MWC of such use or attempted use. In the event MWC becomes involved in any liti gation or other
action relating to such use or attempted use of the Marriott Trademarks, Owner shall execute any and
all documents and do such acts and things as, in the opinion of counsel for MWC, may be necessary
or advisable with respect to such litigation or action; provided, however, that MWC or an Affiliate
thereof shall not, as a result, name Owner in any civil or criminal litigation or otherwise expose
Owner to any civil or criminal liability or sanction. MWC shall reimburse Owner for any out-of-
pocket. expenses reasonably incurred in connection with such assistance.

i
G. For so long as the Marriott Trademarks are, in fact, being used by the Hotel under the
terms of this Agreement, the payments to MWC hereunder will continue without abatement or
diminution. The foregoing shall not be affected by any alleged infringement of the Marriott
Trademarks by any third party, so long as an MWC breach has not occurred and is continuing with
respect to MWC’s grant to Owner and preservation of an exclusive license to use the Marriott
Trademarks in the Area (subject to any limitations set forth herein).

H. If Owner or any Person claiming through Owner uses any of the Marriott Trademarks
in violation of any of the terms of this Agreement (either before or after termination), MWC shall be
entitled to injunctive relief and to any other right or remedy available at law or in equity.

217071v1 Final
Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19 Page 11 of 21 PagelD #: 945

I. All right, title, and interest (including copyright and patent rights) to the name
“Royal Beach” and any other name developed exclusively by Owner and used in connection with the
Hotel, shall at all times be proprietary to Owner and shall in all events be the exclusive property of
Owner, and this Agreement shall not be deemed to convey to MWC or any other Marriott Company
any rights in such right, title or interest or any benefits derived from the use thereof by Owner.

ARTICLE VI
TERM
6.01 Term
A. The initial term ("Initial Term") of this Agreement shall commence with the Effective

Date and, unless sooner terminated as herein provided, shall end on December 31, 2022. MWC
thereafter has the option to renew this Agreement on the same terms and conditions for three (3)
periods of ten (10) Fiscal Years each (each a "Renewal Term"), MWC shall be deemed to have
elected to exercise such option to renew unless it shall give Owner notice that it does not elect to
renew at least 11 months prior to the expiration of the Initial Term or the then-current Renewal
Term.

B. Notwithstanding the provisions stated in Section 6.01 A, this Agreement is
coterminous with the Management Agreement. If the Management Agreement is terminated, this
Agreement shall be immediately and automatically terminated, and if the Management Agreement is
renewed or extended, this Agreement shall be immediately and automatically renewed or extended.

Cc. Owner and MWC acknowledge that the Term specified herein is material to this
Agreement, and neither shall contest or challenge the validity of this Section 6.01.

ARTICLE VI
EVENTS OF DEFAULT: TERMINATION; REMEDIES

7.01 Events of Default

Each of the following shall constitute an event of default ("Event of Default") to the extent
permitted by applicable law:

A. The filing of a voluntary petition under any bankruptcy, insolvency or similar law ora
petition for reorganization under any bankruptcy, insolvency or similar law by any party, the
admission by any party that it is unable to pay its debts as they become due or the consent by any
patty to an involuntary petition under any bankruptcy, insolvency or similar law;

B. The failure to vacate, within 90 days from the date of entry thereof, any order
approving an involuntary petition under any bankruptcy, insolvency or similar law by any party;

217071v1 Final
Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19 Page 12 of 21 PagelD #: 946

C. The entering of an order, judgment, or decree by any court of competent jurisdiction,
on the application of a creditor, adjudicating any party as bankrupt, insolvent or similar status or
approving a petition seeking reorganization or appointing a receiver, trustee, judicial manager, or
liquidator of all or a substantial part of such party's assets, and such order, judgment, or decree
continuing unstayed and in effect for any period of more than 90 days;

D, The failure of any party to pay any amount required to be paid pursuant to this
Agreement within 10 days after notice that such amount has not been paid;

E. The occurrence of an event of default under the Management Agreement;

F, The failure of any party to perform, keep, or fulfill any of the other material
warranties, covenants, undertakings, obligations, standards or conditions set forth in this Agreement,
which failure shall continue for a period of more than 30 days following notice thereof by the non-
defaulting party (or such longer period of time as is necessary to cure such Default if such failure is
not susceptible to being cured within 30 days and the defaulting party shal] promptly after such
notice diligently begin, prosecute, and complete curing such failure, so long as such cure shall] be
accomplished within 90 days after receiving notice by the non-defaulting party); and

G. The occurrence of an event of default under the Intemational Services Agreement, the
Fee Agreement, or any Manager or Owner default under any Non-Disturbance and Attomment
Agreement;

7.02 Termination

A. Upon termination, Owner shall cease using the Marriott Trademarks immediately
without the need for any further action by either of the parties to this Agreement, except for any
permitted use described in Section 7,02.B, below. Owner shall thereupon remove from the Hotel any
Signs or other materials which contain any Marriott Trademark, except for Inventories or Fixed Asset
Supplies that are not purchased by MWC or its Affiliates in accordance with the following
paragraph,

B.

Owner shall immediately stop the use of and sell for cash to MWC or such
Affiliate such items purchased by MWC or such Affiliate within such 30-day period. If MWC or any
of its Affiliates does not fully exercise such option, Owner may use any unpurchased items only in
connection with the operation of the Hotel until the then existing supply is exhausted, provided that
(i) prior to termination or as soon as possible thereafter, such Marriott Trademarks shall be removed,

217071v1 Hinal
Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19 Page 13 of 21 PagelD #: 947

covered or otherwise permanently hidden from the view of Hotel customers and guests, and (ii) inno
event shall the use of such items continue for more than six months after the date of termination.

Cy Termination of this Agreement shall not affect obli gations (including the payment of
any royalties) which have accrued as of the date of termination.

D. Owner hereby empowers MWC and agrees to assist MWC at MWC’s expense, to the
extent so required, to cancel, revoke, transfer, or withdraw from any governmental registration or
authorization permitting Owner to use the Marriott Trademarks upon termination of this Agreement.

This covenant shall survive termination.

7.03 Remedies

Unless otherwise provided herein, no right or remedy conferred upon or reserved to a non-
defaulting party by this Agreement is intended to be or shall be deemed to be exclusive of any other
right or remedy herein or by law or equity provided or permitted, but each such right or remedy shall
be cumulative of every other right or remedy. Nothing contained herein shal! bar a party's ri ght to
obtain injunctive relief under applicable equity rules (including the applicable rules for obtaining
restraining orders and preliminary injunctions) against threatened conduct that may cause it to incur
loss or damages.

ARTICLE VII
ASSIGNMENT
8.01 Assignment
A. Except as otherwise provided in this Agreement, no party shall assign or transfer or

permit the assignment or transfer of this Agreement without the prior consent of the other.

B. MWC shall have the right without consent to assign its interest in this Agreement to
any of its Affiliates; provided that (i) the Affiliate shall possess all legal rights and capacity necessary
to afford Owner the rights to the use of the Marriott Trademarks described in this Agreement, (ii) the
Affiliate shall assume MWC’s obligations under this Agreement in writing for the benefit of Owner
and (iii) that no such assignment shall release MWC of responsibility for such Affiliate’s full and
timely performance under this Agreement or from MWC’s undertakin g to afford Owner the limited
exclusive rights described in Section 2.01.D.

oe Nothing in this Agreement shal] prevent (i) the transfer of this Agreement in
connection with a merger, consolidation, or sale of all or substantially all of the hotel management
assets of MWC or any of its Affiliates (in which case the assignor shall be relieved of its obligations
under this Agreement and the assignee shall be deemed to be MWC for purposes of this Agreement),
or (ii) an assignment or transfer of this Agreement in connection with any pledge of the Hote] as
security for a financing by Owner or any Hotel Sale permitted by the Management Agreement
(including, without limitation, any foreclosure or deed in lieu of foreclosure of any loan of Owner).

217071v] Final
Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19 Page 14 of 21 PagelD #: 948

D. If any party consents to an assignment or transfer of this Agreement by the other, no
further assignment or transfer shal] be made without the consent of such party unless such
assignment or transfer may otherwise be made without such consent pursuant to this Agreement.
Unless otherwise specified in this Agreement or otherwise agreed by Owner and MWC, an
assignment by either Owner or MWC of its interest in this Agreement shall not relieve the assignor
from its obligations under this Agreement.

E. Notwithstanding anything in this Agreement to the contrary, Owner shall not assign or
transfer this Agreement to any Person unless such Person is a permitted assignee under the
Management Agreement and the Management Agreement is simultaneously assigned or transferred
to such Person.

ARTICLE Ix
MISCELLANEOUS
9.01 Right to Make Agreement
A, Each party represents, warrants and covenants, with respect to itself, that neither its

execution of this Agreement nor the performance of its obligations hereunder: (i) violates any
provision of law or any judgment, writ, injunction, order, or decree of any court or governmental
authority having jurisdiction over it or any of its Affiliates; (ii) results in or constitutes a material
breach or material default under any indenture, contract, commitment, or restriction to which it or
any of its Affiliates is a party or by which it or any of its Affiliates is bound; or (iii) requires any
consent, vote, or approval which has not been given or taken, or at the time of the transaction
involved shall not have been given or taken. Each party represents and warrants that it has the full
right and authority to enter into this Agreement. Each party represents and warrants that it and its
Affiliates have and covenants that it and its Affiliates shall continue to have through the Term the
full right and authority to perform its obligations hereunder.

B. Bach party represents and warrants that this Agreement constitutes a legal, valid and
binding obligation of such party, enforceable against such party in accordance with its terms.

C, Each party shall indemnify, defend, and hold harmless the other party from and
against all Damages based on or arising from any breach of this Section 9.01.

9.02 Consents, Approvals, and Agreements: No Warranties

A. Unless otherwise provided, wherever in this Agreement the consent, approval, or
agreement of Owner or MWC is required, such consent, approval, or agreement shall not be
unreasonably withheld, delayed, or conditioned, shall be in writing, and shall be executed by a duly
authorized officer or agent of the party granting such consent, approval, or agreement. Unless
otherwise provided, if either Owner or MWC fails to respond affirmatively or negatively within 30
days or as otherwise specified in this Agreement to a request by another party for a consent,
approval, or agreement, such consent, approval, or agreement shall be deemed to have been given.

217071v1 Final

10
Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19 Page 15 of 21 PagelD #: 949

B. Except as specifically provided in this Agreement, MWC makes no representation,
warranty, or guarantee upon which Owner may rely. MWC assumes no liability or obligation to
Owner by providing (or denying) any waiver, approval, consent, agreement, or suggestion to Owner
in connection with this Agreement.

9.03 Relationship

The relationship of Owner and MWC shall be that of licensee and licensor, and nothing
contained in this Agreement shall be construed to create an agency, partnership or joint venture
between them or their successors in interest, Notwithstanding the license relationship created by this
Agreement, and subject to the exclusive rights within the Area described in Section 2.01.D, above,
nothing contained herein shall prohibit, limit, or restrict MWC or any of its Affiliates from
developing, owning or partially owning, leasing, operating or franchising hotels in addition to the
Hotel or from entering into marketin g or other arrangements with hotels in the trade area in which
the Hotel is located or from licensing the Marriott Trademarks to an y other party.

9.04 Confidentiality

A. The parties hereto agree that the matters set forth in this Agreement and al]
statements, reports, projections and other information relating to the operation of the Hotel or to any
other hotel in the Marriott Chain are strictly confidential, and each party shall make every effort to
ensure that the information is not disclosed to any Person (including the press) other than a party
hereto without the prior written consent of the other patty; provided, however, (i) Owner may
disclose information relating to the Hotel (but not relating to Marriott Chain services or other
Marriott Chain information) as may be required by any Legal Requirement and as may be reasonably
necessary to obtain licenses, permits, and other public approvals necessary for the refurbishment or
operation of the Hotel, or in connection with Owner's financing of the Hotel, a Hotel Sale, asale of a
controlling interest in Owner (except any financing or sale involving a private or public offering of
securities), or in connection with reports and other disclosures to Owner’s partners, prospective
partners, lenders, prospective lenders, consultants, attomeys, and agents; and (ii) MWC may disclose
information relating to the Hotel as may be required by any Legal Requirement and as may be
reasonably necessary to obtain licenses, permits, and other public approvals necessary for the
refurbishment or opeiatiun of the Hotel, ot in connection with any financing of the Hotel, a Hotel
Sale, a sale of a controlling interest in Manager, MWC or an Affiliate (except any financing or sale
involving a private or public offering of securities), or in connection with reports and other
disclosures to MWC’s consultants, attoreys, and agents. Notwithstanding the foregoing, MWC
(and any other Marriott Company) may use any Intellectual Property for any purpose (including,
without limitation, the use of such Intellectual Property at the Hotel or at other hotels in the Marriott
Chain) and may use any information described in the first sentence of this Section 9,04 A to the
extent reasonably necessary for the benefit of the Hotel or other hotels in the Marriott Chain.

B. No reference to MWC or any of its Affiliates may be made in any prospectus, private
placement memorandum, offering circular, similar document, or any documentation related to any of
the foregoing (collectively, "Prospectus") issued by or on behalf of Owner or any of its Affiliates,
which is intended to interest potential investors or lenders in the Hotel, unless MWC has previously

217071v1 Final

Il
Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19 Page 16 of 21 PagelD #: 950

received and approved the accuracy of a copy of all such references, Regardless of whether MWC so
receives and approves all such references, neither MWC nor any of its Affiliates shall be deemed a
sponsor of the offering described in the Prospectus or have any responsibility for the Prospectus, and
the Prospectus shall clearly state such non-sponsorship and non-responsibility. Unless MWC agrees
in advance, the Prospectus shall not include any Marriott Trademarks (except as required to identify
MWC, Manager and its affiliates as parties to this Agreement, the Management Agreement and
related Agreements) or the text of this Agreement. Owner shall indemnify, defend, and hold MWC
and its Affiliates (including their respective directors, officers, shareholders, employees and agents)
harmless from and against all Damages and third party claims based on or arising from any
Prospectus or the offering described therein, and this obli gation shall survive termination. Owner
shall comply with all applicable securities and related laws and regulations relevant to any offering in
connection with such Prospectus.

9.05 Applicable Law

This Agreement is executed pursuant to, and shall be construed under and governed
exclusively by, the laws of the State of New York, United States of America, without regard to the
conflict of law provisions thereof.

9.06 Arbitration

Except as otherwise specified in this Agreement, any dispute, controversy, or claim arising
out of or relating to this Agreement, or the breach, termination, or invalidity thereof, shall be settled
by arbitration in accordance with the rules of procedures of the American Arbitration Association (or
any similar successor rules thereto) as are in force on the date when a notice of arbitration is
received. The appointing authority shall be the American Arbitration Association. The number of
arbitrators shall be one unless a party to the arbitration requests otherwise, in which case there shall
be three. The language to be used in the proceedings shal] be English. The place of arbitration shall
be New York, New York, United States of America. The decision of the arbitration board shall be
final and binding upon the parties, and such decision shall be enforceable through any courts having
jurisdiction, The costs and expenses of arbitration shall be allocated and paid by the parties as
determined by the arbitrators.

9.07 Notices

All notices, requests, demands, statements, approvals, consents, and other communications
required or permitted to be given under the terms of this Agreement shall be in writing and delivered
to the respective party (i) by hand against receipt, (ii) by a reputable overni ght/international courier
service with package tracking capability, or (iii) by telefax (with receipt confirmed by telephone ora
copy delivered by hand or overnight international courier service) at such address as from time to
time designated by notice from the respective party to the other party, which initially shal] be as
follows.

217071v1 Final

12
Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19

217071¥1 Final

To Owner:

Royal St. Kitts Beach Resort Limited
P.O. Box 858

Frigate Bay, St. Kitts

West Indies

With copies to:

ZZen Group

100 Zenway Blvd.
Woodbridge
Ontario LAH-2Y7
CANADA

Page 17 of 21 PagelD #: 951

Any Mortgagee identified in writing by Owner from time to time to both the Marriott

entities listed below.
To MWC:

Marriott Worldwide Corporation
10400 Fernwood Road
Bethesda, Maryland 20817
United States of America

With a copy to

Marriott International, Inc.
10400 Fernwood Road
Bethesda, MD 20817

13
Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19 Page 18 of 21 PagelD #: 952

Any such notice or communication shall be deemed to have been given at the date and time of: (i)
teceipt or first refusal of deli very, if delivered by hand; (ii) the second day after dispatch, if sent via
reputable overnight/international courier service; or (iii) either the date sent Gf sent during the
receiving party's normal business hours) or next succeeding day on which the receiving party is
normally open for business, if sent by telefax and receipt is confirmed in the manner specified above.

9.08 Currency

9.09 Waiver

The failure or delay by a party to insist upon strict performance of any provision of this
Agreement or to exercise any option, right, or remedy contained in this Agreement shall not
constitute a waiver ora relinquishment of such provision, option, right, or remedy for the future. No
waiver by a party of any provision of this Agreement shall be deemed to have been made unless
expressed in writing and signed by such party.

9.10 Partial Invalidity

The provisions of this Agreement shall be deemed independent and severable. If any
provision of this Agreement or the application thereof to any Person or circumstance shall to any
extent be invalid or unenforceable, the remainder of this Agreement and the application of such
provision to Persons or circumstances other than those as to which it is held invalid or unenforceable

217071v1 Final

14
: 953
Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19 Page 19 of 21 PagelD #: 95

shall not be affected thereby, and each provision shall be valid and enforceable to the fullest extent
permitted by law. Any invalid or unenforceable provision shall be replaced with a provision that is
valid and enforceable and most nearly reflects the original intent of the invalid or unenforceable
provision.

9.11 Entire Agreement

The following constitute the entire agreement between the parties or their respective
Affiliates, supersede all prior understandings and writings, and may be changed only by a writing
signed by the parties or their respective Affiliates: (i) the Marriott Agreements; (ii) any instruments
Lo be executed and delivered pursuant to any of the Marriott Agreements; and (iii) any other writings
executed by the parties or their respective Affiliates, which writin 88 are stated to be supplemental to
or to amend or restate any of the foregoing agreements,

[The remainder of this Page is intentionally blank]

217071v1 Final

15
as

IN WITNESS WHEREOR, the parties have caused this Agreement to be duly executed
by their duly authorized Tepresentatives as of the Effective Date.

ROYAL ST. KITTS BEACH RESORT MARRIOTT WORLDWIDE
LIMITED CORPORATION
By: Y AY ary By:
Name: Vie de an Name: M1 Lestec False yor.
Title: Direeba_ Title: Viee Ped ident
13087_1.DOC

217071y1 Final

16
Case 1:14-cv-05960-NG-RLM Document 85 Filed 01/14/19 Page 21 of 21 PagelD #: 955

EXHIBIT A

Marriott “M” Logo

217071¥v1 Final

17
